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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION
ROBERT (BOB) ROSS,                     §
                                       §
   Plaintiff/Counterclaim Defendant,   §
                                       §
v.                                     §    Civil Action No. 4:22-cv-00343-Y
                                       §
ASSOCIATION OF PROFESSIONAL §
FLIGHT ATTENDANTS,                           §
MCGAUGHEY, REBER AND                         §
ASSOCIATES, INC., JULIE                      §
HEDRICK, AND ERIK HARRIS,                    §
                                             §
 Defendants/Counterclaim Plaintiff.          §
                 CERTIFICATE OF INTERESTED PERSONS OF
           DEFENDANT COUNTERCLAIM PLAINTIFF ASSOCIATION OF
            PROFESSIONAL FLIGHT ATTENDANTS, AND DEFENDANTS
                     JULIE HEDRICK AND ERIK HARRIS

       Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and

LR 81.2, Defendant McGaughey, Reber and Associates, Inc.( “Defendant”) provides the

following information:

      For a nongovernmental corporate party, the name(s) of its parent corporation and any
      publicly held corporation that owns 10% or more of its stock (if none, state “None”):

              None.

      A complete list of all persons, associations of persons, firms, partnerships, corporations,
      guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities
      that are financially interested in the outcome of the case:

              1.      Association of Professional Flight Attendants (“APFA”);

              2.      Julie Hedrick, National President of APFA (“Hedrick”);

              3.      Erik Harris, National Treasurer of APFA (“Harris”);




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              4.      Robert (Bob) Ross, former National President of APFA;

              5.      McGaughey, Reber and Associates, Inc., d/b/a Diversified Credit Systems;
                      and

              6.      Members of, and individuals represented by, the APFA.


                                             Michael R. Rake



                                             Michael R. Rake, Attorney at Law
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                                             Counsel for Defendant, McGaughey, Reber and
                                             Associates, Inc. d/b/a Diversified Credit Systems

                                CERTIFICATE OF SERVICE

       I certify that on this 28 day of June, 2022 a true and correct copy of the foregoing

document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant

Ross by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

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                                            Michael R. Rake
Date: June 28, 2022
                                                    Michael R. Rake




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